                        Case 1:19-cr-00084-DLH Document 27 Filed 09/17/19 Page 1 of 3
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                     April Lynn Gearhart
                               Defendant

                                        ORDER SETTING CONDITIONS OF RELEASE

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                                                       Additional Conditions of Release

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   set forth below:
    (5) Defendant shall report to the Pretrial Services Officer at such times and in such manner as designated by the Officer.

    (6) Except upon prior approval from the Pretrial Services Officer, the defendant's travel is restricted to the State of North Dakota.

    (7) Defendant shall refrain from: any use of alcohol; any use or possession of a narcotic drug and other controlled substances
    defined in 21 U.S.C. § 802 or state statute, unless prescribed by a licensed medical practitioner; and any use of inhalants. Defendant
    shall submit to drug/alcohol screening at the direction of the Pretrial Services Officer to verify compliance. Failure or refusal to
    submit to testing or tampering with the collection process or specimen may be considered the same as a positive test result.

    (8) Defendant shall not possess a firearm, destructive device, or other dangerous weapon.

    (9) Defendant shall undergo a substance abuse and/or mental health evaluation if required by the Pretrial Services Officer and
    comply with resulting counseling or treatment recommendations.

    (10) Defendant shall reside with her step-father, Verl Huravitch, at 13444 53rd St. NW, Williston, North Dakota, and not change
    this residence without prior approval of the Pretrial Services Officer.

    (11) Defendant shall submit her person, residence, vehicle, and/or possessions to a search conducted by a Pretrial Services Officer
    at the request of the Pretrial Services Officer. Failure to submit to a search may be grounds for revocation of pretrial release.
    Defendant shall notify any other residents that the premises may be subject to searches pursuant to this condition.

    (12)     Upon arriving in Williston, defendant shall immediately contact Pretrial Services Officer Shylah Leonard at (701) 297-7246.
                       Case 1:19-cr-00084-DLH Document 27 Filed 09/17/19 Page 3 of 3
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                                                        Advice of Penalties and Sanctions

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                                                      Directions to United States Marshal

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( ✔ ) Other: Defendant shall be released to her step-father, Verl Huravitch, upon his arrival the Heart of America Correctional and Rehabilitation
 Center.


  'DWH           9/16/2019
                                                                                         Clare R. Hochhalter, Magistrate Judge
